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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )        8:06CR61
                                                  )
                     vs.                          )        ORDER OF COURT
                                                  )        TO DISMISS WITHOUT
DALINDA GARCIA,                                   )        PREJUDICE
ROBERTO M. MORALES, Jr.,                          )        THE INDICTMENT
ROBERTO M. MORALES, Sr.,                          )        AGAINST DEFENDANT
JESUS ALBERTO PADILLA-PALACIOS,                   )        ARMANDO RODRIGUEZ
ARMANDO RODRIGUEZ,                                )
DANNY REYES,                                      )
                                                  )
                     Defendants.                  )

       IT IS ORDERED, pursuant to Federal Rule of Criminal Procedure 48(a), leave of Court

is granted for the dismissal without prejudice of the Indictment regarding Defendant, ARMANDO

RODRIGUEZ, pursuant to Motion of the United States (Filing No. 116).

       DATED this 26th day of June, 2006.

                                            BY THE COURT:

                                            s/Laurie Smith Camp
                                            United States District Judge
